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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2020-32738
      Unit Petroleum Company and Unit Corporation
      Hearing on [164].




      Case Type :                    bk
      Case Number :                  2020-32738
      Case Title :                   Unit Petroleum Company and Unit Corporation

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